Case 1:25-cv-01814-BABY Wadguinent A 1 Filed Lero9/2s Page 1 of 1

m DISTRICT COURT OF MARYLAND FOR stotrcnssssini (City County

yectnoond st DC Traffic WM

Bel Air, MD 21014-3737 Case No: 23J0TSD

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NAME “LAST. : TEST ML} NAME (LAST, FIRST, M1.)
Henry Inyangette, Ekere
AGENCY SUB-AGENCY LD. NO. (POLICE . MAFIS NAME (LAST, FIRST, M.1} TITLE
MSP * 90-62 6700 :
WORK TELEPHONE HOME TELEPHONE LD. NO. RACE | SEX {HT | Wr | D.OB.(MMMDINY)
(410 )§37-1150 ( ) Bik |M | 50% 176| 06/25/1976
——T CCIOCA HAIR | EYES | OTHER DESCRIFTION
45 Turnpike Drive AFT-NO. 24MSP8471 |BIk | Bro
CITY SEATE ZIP CODE DRIVER'S LICENSE # STATE
Perryville MD 21903 4684866 BC
WORK TELEPHONE HOME TELEPHONE
( ) ( )
[_| DOMESTIC VIOLENCE [_] WATE CRIME ADDRESS APTNO,
[_] VULNERABLE ADULT ABUSE —[_] CHILD ABUSE 115 New York Ave NW Unit #6
city STATE . ZIP CODE
~ Page 1 of 2 Washington, DC 20001

. STATEMENT OF PROBABLE CAUSE
ARREST ON TRAFFIC / NATURAL RESOURCES / MASS TRANSIT CITATIONS / CRIMINAL CHARGES / MUNICIPAL ORDINANCES / PUBLIC LOCAL LAWS

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On Tuesday February 27th, 2024 at 1704 hours |, TFC Henry #6700 was dispatched fo a
disabled vehicle in the roadway, southbound Interstate 95 at the 77 mm on the off ramp. Maryland
Transportation Authority Courtesy Pairoi Unit was on scene prior to my arrival and stated he
believed the driver to be impaired. When | arrived on scene, | observed a black Infiniti G37 bearing
. [Maryland registration 2A43808 stopped on the off ramp in the roadway. | approached the driver who.

was outside of his vehicle. The driver, identified by his DC license as Ekere Inyangette B/M DOB:
06/25/1976, attempted to conceal his breath and limit his contact with me. Inyangette was standing
bladed from me and speaking away from me when answering questions. | still detected a strong
odor of an alcoholic beverage coming from Inyangette's breath. Inyangette advised he had a beer to
drink. Inyangette's eyes were glassy and bloodshot and his speech was mumbled and slurred.
Inyangette agreed to perform Standardized Field Sobriety Tests and performed them
unsatisfactorily. Inyangette was unable to follow simple instructions.

CONTINUED ON ATTACHED SHEET (FORM DC/CR 4A) PROBABLE CAUSE CHARGES # U-
Go te “continued” page LACK OF PROBABLE CAUSE CHARGES f__
TSOLEMNLY AFFIRM UNDER THE PENALIIES OF FERJURY THAT THE MATTERS |] THA THE STATEMENT OF CHARGES AND HAVE DETERMINED THAT
‘| AND FACTS SET FORTH IN THE FOREGOING DOCUMENT ARE TRUE TO THE BEST 1S PROBABLE CAUSE TO DETAIN THE DEFENDANT
— = = - < THERE OT PROBABLE CAUSE TO DETAIN THE DEFENDANT ANDI HAVE
DATE ARRESTING OFFICER. . ISN
ACCORDINGLY RELEASED HIM ON HIS OWN RECOGNIZANCE,
02/27/2024 TFC Henry, r ——
AGENCY SUSAGENCY To > DATE 3 a CER COMMISSIONER LD.
MSP 90-62 6700 FEB 2 a9 GARIATORIA, 9045
Ww

a PC DCICR 4 (Rev. 4/2002)

Traffic #23JOTSD

